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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                DISTRICT OF NEW JERSEY


  CARLOS AMARO,                                  ) Case No.: 3:15-cv-6654
                                                 )
                 Plaintiff                       )
                                                 )
         v.                                      )
                                                 )
  VERDE ENERGY USA, INC.,                        )
                                                 )
               Defendant                         )

               NOTICE OF ACCEPTANCE OF OFFER OF JUDGMENT

         COMES NOW the Plaintiff, Carlos Amaro, by and through his attorney, Amy

  Lynn Bennecoff Ginsburg of Kimmel & Silverman, P.C., and hereby notifies the Court

  and Defendant that Defendant’s Offer of Judgment pursuant to Fed. R. Civ. P. 68 is

  hereby accepted. A copy of the Defendant’s Rule 68 Offer is attached hereto for the

  Court’s reference and is identified as Exhibit “A”.


  Dated: October 23, 2015                               KIMMEL & SILVERMAN, P.C.
                                                        By: /s/ Amy L. Bennecoff Ginsburg
                                                        Amy L. Bennecoff Ginsburg, Esq.
                                                        Attorney for Plaintiff
